         Case 1:13-cv-00913-LJB Document 8 Filed 11/22/13 Page 1 of 6




            In the United States Court of Federal Claims
                                     No. 13-913 C
                              (Filed November 22, 2013)
 * * * * * * * * * * * * * * * *              *
 JORDAN POND COMPANY, LLC,                    *
                                              *
                 Plaintiff,                   *
                                              *
            v.                                *
                                              *
 THE UNITED STATES,                           *
                                              *
                 Defendant,                   *
                                              *
 DAWNLAND, LLC,                               *
                                              *
                 Intervenor-Defendant.        *
 * * * * * * * * * * * * * * * * *

                              PROTECTIVE ORDER


       The court finds that certain information likely to be disclosed orally or in
writing during the course of this litigation may be competition-sensitive or
otherwise protectable and that entry of a Protective Order is necessary to safeguard
the confidentiality of that information. Accordingly, the parties shall comply with
the terms and conditions of this Protective Order.

                                         I.

1.    Protected Information Defined. “Protected information” as used in this
      order means information that must be protected to safeguard the competitive
      process, including source selection information, proprietary information, and
      confidential information contained in:
            (a) any document (e.g., a pleading, motion, brief, notice, or
                   discovery request or response) produced, filed, or served by a
                   party to this litigation; or
       Case 1:13-cv-00913-LJB Document 8 Filed 11/22/13 Page 2 of 6




           (b)    any deposition, sealed testimony or argument, declaration, or
                  affidavit taken or provided during this litigation.

2.   Restrictions on the Use of Protected Information. Protected information
     may be used solely for the purposes of this litigation and may not be given,
     shown, made available, discussed, or otherwise conveyed in any form except
     as provided herein or as otherwise required by federal statutory law.

                                       II.

3.   Individuals Permitted Access to Protected Information. Except as provided
     in paragraphs 7 and 8 below, the only individuals who may be given access
     to protected information are counsel for a party and independent consultants
     and experts assisting such counsel in connection with this litigation.

4.   Applying for Access to Protected Information. An individual seeking access
     to protected information pursuant to Appendix C, Section VI of this court’s
     rules must read this Protective Order; must complete the appropriate
     application form (Form 9—“Application for Access to Information Under
     Protective Order by Outside or Inside Counsel,” or Form 10—“Application
     for Access to Information Under Protective Order by Expert Consultant or
     Witness”); and must file the executed application with the court.

5.   Objecting to an Application for Admission. Any objection to an application
     for access must be filed with the court within two (2) business days of the
     objecting party’s receipt of the application.

6.   Receiving Access to Protected Information. If no objections have been filed
     by the close of the second business day after the other parties have received
     the application, the applicant will be granted access to protected information
     without further action by the court. If any party files an objection to an
     application, access will only be granted by court order.

7.   Access to Protected Information by Court, Department of Justice, and
     Agency Personnel. Personnel of the court, the procuring agency, and the
     Department of Justice are automatically subject to the terms of this



                                        2
        Case 1:13-cv-00913-LJB Document 8 Filed 11/22/13 Page 3 of 6




      Protective Order and are entitled to access to protected information without
      further action.

8.    Access to Protected Information by Support Personnel. Paralegal, clerical,
      and administrative support personnel assisting any counsel who has been
      admitted under this Protective Order may be given access to protected
      information by such counsel if those personnel have first been informed by
      counsel of the obligations imposed by this Protective Order.

                                        III.

9.    Identifying Protected Information. Protected information may be provided
      only to the court and to individuals admitted under this Protective Order and
      must be identified as follows:
             (a) if provided in electronic form, the subject line of the electronic
                   transmission shall read “CONTAINS PROTECTED
                   INFORMATION”; or
             (b) if provided in paper form, the document must be sealed in a
                   parcel containing the legend “PROTECTED
                   INFORMATION ENCLOSED” conspicuously marked on the
                   outside.
      The first page of each document containing protected information, including
      courtesy copies for use by the judge, must contain a banner stating
      “Protected Information to Be Disclosed Only in Accordance With the
      U.S. Court of Federal Claims Protective Order” and the portions of any
      document containing protected information must be clearly identified.

10.   Filing Protected Information. Pursuant to this order, a document containing
      protected information may be filed electronically under the court’s electronic
      case filing system using the appropriate activity listed in the “SEALED”
      documents menu. If filed in paper form, a document containing protected
      information must be sealed in the manner prescribed in paragraph 9(b) and
      must include as an attachment to the front of the parcel a copy of the
      certificate of service identifying the document being filed.

11.   Protecting Documents Not Previously Sealed. If a party determines that a
      previously produced or filed document contains protected information, the


                                         3
        Case 1:13-cv-00913-LJB Document 8 Filed 11/22/13 Page 4 of 6




      party may give notice in writing to the court and the other parties that the
      document is to be treated as protected, and thereafter the designated
      document must be treated in accordance with this Protective Order.

                                         IV.

12.   Redacting Protected Documents For the Public Record.
           (a) Initial Redactions. After filing a document containing protected
                  information in accordance with paragraph 10, or after later
                  sealing a document pursuant to paragraph 11, a party must
                  promptly serve on the other parties a proposed redacted version
                  marked “Proposed Redacted Version” in the upper right-hand
                  corner of the first page with the claimed protected information
                  deleted.
           (b) Additional Redactions. If a party seeks to include additional
                  redactions, it must advise the filing party of its proposed
                  redactions within two (2) business days after receipt of the
                  proposed redacted version, or such other time as agreed upon
                  by the parties. The filing party must then provide the other
                  parties with a second redacted version of the document clearly
                  marked “Agreed-Upon Redacted Version” in the upper
                  right-hand corner of the page with the additional information
                  deleted.
           (c) Final Version. At the expiration of the period noted in (b)
                  above, or after an agreement between the parties has been
                  reached regarding additional redactions, the filing party must
                  file with the court the final redacted version of the document
                  clearly marked “Redacted Version” in the upper right-hand
                  corner of the first page. This document will be available to the
                  public.
           (d) Objecting to Redactions. Any party at any time may object to
                  another party’s designation of certain information as protected.
                  If the parties are unable to reach an agreement regarding
                  redactions, the objecting party may submit the matter to the
                  court for resolution. Until the court resolves the matter, the
                  disputed information must be treated as protected.



                                          4
        Case 1:13-cv-00913-LJB Document 8 Filed 11/22/13 Page 5 of 6




                                         V.

13.   Copying Protected Information. No party, other than the United States, may
      for its own use make more than three (3) copies of a protected document
      received from another party, except with the consent of all other parties. A
      party may make additional copies of such documents, however, for filing
      with the court, service on the parties, or use in discovery and may also
      incorporate limited amounts of protected information into its own documents
      or pleadings. All copies of such documents must be clearly labeled in the
      manner required by paragraph 9.

14.   Waiving Protection of Information. A party may at any time waive the
      protection of this order with respect to any information it has designated as
      protected by advising the court and the other parties in writing and
      identifying with specificity the information to which this Protective Order
      will no longer apply.

15.   Safeguarding Protected Information. Any individual admitted under this
      Protective Order must take all necessary precautions to prevent disclosure of
      protected information, including but not limited to physically securing,
      safeguarding, and restricting access to the protected information.

16.   Breach of the Protective Order. If a party discovers any breach of any
      provision of this Protective Order, the party must promptly report the breach
      to the other parties and immediately take appropriate action to cure the
      violation and retrieve any protected information that may have been
      disclosed to individuals not admitted under this Protective Order. The
      parties must reasonably cooperate in determining the reasons for any such
      breach.

17.   Seeking Relief From the Protective Order. Nothing contained in this order
      shall preclude a party from seeking relief from this Protective Order through
      the filing of an appropriate motion with the court setting forth the basis for
      the relief sought.

                                        VI.



                                         5
        Case 1:13-cv-00913-LJB Document 8 Filed 11/22/13 Page 6 of 6




18.   Maintaining Filed Documents Under Seal. The court will maintain properly
      marked protected documents under seal throughout this litigation.

19.   Retaining Protected Information After the Termination of Litigation. Upon
      conclusion of this action (including any appeals and remands), the original
      version of the administrative record and any other materials that have been
      filed with the court under seal will be retained by the court pursuant to
      RCFC 77.3(c). Copies of such materials may be returned by the court to the
      filing parties for disposition in accordance with paragraph 20 of this
      Protective Order.

20.   Disposing of Protected Information. Within thirty (30) days after the
      conclusion of this action (including any appeals and remands), each party
      must destroy all protected information received pursuant to this litigation
      and certify in writing to each other party that such destruction has occurred
      or must return the protected information to the parties from which the
      information was received. With respect to protected electronically stored
      information (ESI) stored on counsel’s computer network(s), destruction of
      such ESI for purposes of compliance with this paragraph shall be complete
      when counsel takes reasonable steps to delete all such ESI from the active
      email system (such as, but not limited to, the “Inbox,” “Sent Items,” and
      “Deleted Items” folders) of admitted counsel and of any personnel who
      received or sent emails with protected information while working under the
      direction and supervision of such counsel, and by deleting any protected ESI
      from databases under counsel’s control. Compliance with this paragraph
      does not require counsel to search for and remove ESI from any computer
      network back-up tapes, disaster recovery systems, or archival systems. Each
      party may retain one copy of such documents, except when the retention of
      additional copies is required by federal law or regulation, provided those
      documents are properly marked and secured.

      IT IS SO ORDERED.


                                            /s/Lynn J. Bush
                                            LYNN J. BUSH
                                            Senior Judge


                                        6
